        Case 2:18-cv-01691-DB Document 18 Filed 03/12/19 Page 1 of 4

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 8                                    UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    VALERIY BYKOV,                                    No. 2:18-cv-1691 DB
12                       Plaintiff,
13           v.                                         ORDER
14    DC TRANSPORTATION SERVICES,
      INC.,
15

16                       Defendant.
17

18          Each of the parties in the above-captioned case has consented to proceed before a United

19   States Magistrate Judge. See U.S.C. § 636(c). Accordingly, this matter has been reassigned to

20   the undersigned for all purposes. (ECF No. 12.) On February 11, 2019, plaintiff filed a motion

21   for preliminary approval of a class action settlement. (ECF No. 16.) The motion is noticed for

22   hearing before the Court on March 15, 2019. On February 25, 2019, defendant filed a statement

23   of non-opposition. (ECF No. 17.)

24          Rule 23(d) of the Federal Rules of Civil Procedure “vests a district court with the

25   authority and discretion to protect the interests and rights of class members and to ensure its

26   control over the integrity of the settlement approval process.” Hanlon v. Chrysler Corp., 150 F.3d

27   1011, 1025 (9th Cir. 1998). “District courts have interpreted Rule 23(e) to require a two-step

28   process for the approval of class action settlements: ‘the Court first determines whether a

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        Case 2:18-cv-01691-DB Document 18 Filed 03/12/19 Page 2 of 4

 1   proposed class action settlement deserves preliminary approval and then, after notice is given to

 2   class members, whether final approval is warranted.’” In re High-Tech Emp. Antitrust Litig., No.

 3   11-cv-02509-LHK, 2014 WL 3917126, at *3 (N.D. Cal. Aug. 8, 2014) (quoting Nat’l Rural

 4   Telecomms. Coop. v. DIRECTV, Inc., 221 F.R.D. 523, 525 (C.D. Cal. 2004)).

 5          Rule 23 “requires the district court to determine whether a proposed settlement is

 6   fundamentally fair, adequate, and reasonable.” Hanlon, 150 F.3d at 1026 (citing Class Plaintiffs

 7   v. City of Seattle, 955 F.2d 1268, 1276 (9th Cir. 1992)). “It is the settlement taken as a whole,

 8   rather than the individual component parts, that must be examined for overall fairness.” Id.

 9   (citing Officers for Justice v. Civil Serv. Comm’n of San Francisco, 688 F.2d 615, 628 (9th Cir.

10   1982)). “Where, as here, the parties reach a settlement before class certification, the district court

11   must apply a ‘higher standard of fairness.’” Cotter v. Lyft, Inc., 176 F.Supp.3d 930, 935 (N.D.

12   Cal. 2016) (quoting Hanlon, 150 F.3d at 1026). In evaluating a proposed settlement at the

13   preliminary approval stage, “[s]ome district courts . . . have stated that the relevant inquiry is

14   whether the settlement ‘falls within the range of possible approval’ or ‘within the range of

15   reasonableness.’” In re High–Tech Emp. Antitrust Litig., 2014 WL 3917126, at *3 (quoting In re

16   Tableware Antitrust Litig., 484 F.Supp.2d 1078, 1079 (N.D. Cal. 2007)).

17          Here, the Court has some concerns with plaintiff’s proposed Notice of Proposed Class

18   Action Settlement and Hearing Date for Court Approval (“Notice”). Specifically:

19          1. The Notice erroneously lists the case number for this action as “No. 2:18-cv-1691

20              TLN DB.” (ECF No. 16-3 at 2, 3, 8.) That was the case number in this action before
21              the matter was reassigned to the undersigned for all purposes. The correct case

22              number is No. 2:18-cv-1691 DB.

23          2. Section VI.C. of the Notice states “Objections . . . must be mailed to the Settlement

24              Administrator, [Insert ADDRESS], by no later than [Insert deadline] for your

25              objection to be considered.” (ECF No. 16-3 at 8.) It seems to the Court that the

26              Notice should direct class members who wish to object to mail such written objections
27              to the Court. Those objections will be scanned, docketed, and made available to the

28              parties and the Court.

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            Case 2:18-cv-01691-DB Document 18 Filed 03/12/19 Page 3 of 4

 1            3. The Notice should explain that the Court can only approve or deny the settlement.

 2               The Court cannot change the terms of the settlement.

 3            4. Section VI.C. of the Notice also states that “Objections must be in writing” and that

 4               objections that are not in writing may not be considered by the Court. (ECF No. 16-3

 5               at 8.) The Notice should reflect that, although objections should be submitted in

 6               writing, the Court will hear all objections to the settlement at the Final Approval

 7               hearing, regardless of whether those objections were previously submitted in writing.

 8            5. The Notice should advise class members that they can view the Court’s calendar at

 9               http://www.caed.uscourts.gov/caednew/index.cfm/judges/daily-calendar/, to confirm

10               the hearing date for the Final Approval hearing.

11            6. Section VI.D. of the Notice states that “Any attorney who intends to represent an

12               individual objecting to the Settlement must file a notice of appearance with the Court

13               and serve counsel for all parties” within 30 days of the mailing of the Notice. It is

14               unclear to the Court why there is any need to set a deadline for the appearance of

15               counsel representing a class member objecting to the Settlement, let alone a mere 30-

16               day window allowing such an appearance.

17            Finally, plaintiff has also submitted a proposed Order Granting Preliminary Approval of

18   Class Action Settlement which provides certain dates and deadlines. (ECF No. 16-10.) One such

19   proposed deadline is that plaintiff may file the motion for final approval of the settlement “Not

20   less than 10 calendar days before the Final Approval hearing.” (Id. at 4.) The Court would prefer
21   the standard 28-day briefing schedule set forth under Local Rule 230.

22            Accordingly, IT IS HEREBY ORDERED that:

23            1. The March 15, 2019 hearing of plaintiff’s motion for preliminary approval of class

24   action settlement is continued to March 29, 2019, at 10:00 a.m. in courtroom no. 27 before the

25   undersigned; and

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27   ////

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         Case 2:18-cv-01691-DB Document 18 Filed 03/12/19 Page 4 of 4

 1           2. On or before March 22, 2019, plaintiff may file a revised proposed Notice of Proposed

 2   Class Action Settlement and Hearing Date for Court Approval (“Notice”), and a revised proposed

 3   Order Granting Preliminary Approval of Class Action Settlement addressing the issues noted

 4   above and/or a supplemental brief, no longer than 10 pages, addressing the issues noted above.

 5   Dated: March 11, 2019

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